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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §               Case No: 2:15-cv-01169-JRG-RSP
                                     §
 vs.                                 §               LEAD CASE
                                     §
 ADAMS EXTRACT                       §               PATENT CASE
                                     §
       Defendant.                    §
 ___________________________________ §
 SYMBOLOGY INNOVATIONS, LLC          §
                                     §
       Plaintiff,                    §               Case No: 2:15-cv-01225-JRG-RSP
                                     §
 vs.                                 §               CONSOLIDATED CASE
                                     §
 BALLY TOTAL FITNESSS CORP.          §               PATENT CASE
                                     §
       Defendant.                    §
 ___________________________________ §

                    UNOPPOSED MOTION TO DISMISS DEFENDANT
                   BALLY TOTAL FITNESS CORP. WITH PREJUDICE

        Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the terms of a separate
 final written agreement entered into by the parties (“Settlement Agreement”), Plaintiff Symbology
 Innovations, LLC (“Symbology”) files this Unopposed Motion to Dismiss Defendant Bally Total
 Fitness Corp. (“Bally”) with Prejudice. All claims between the parties have been resolved. The
 parties stipulate to the Court retaining jurisdiction to enforce the terms of the Settlement
 Agreement.
        Wherefore, Symbology moves this Court to dismiss this action and all claims by
 Symbology against Bally with prejudice, with each party to bear its own costs, attorney’s fees and
 expenses and request that the Court enter the proposed order of dismissal submitted herewith.
 Symbology further moves the Court to retain jurisdiction to enforce the terms of the Settlement
 Agreement.
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 Dated: November 13, 2015                        Respectfully submitted,
                                                 /s/ Jay Johnson
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                                                 ATTORNEYS FOR PLAINTIFF



                                  CERTIFICATE OF CONFERENCE

 The undersigned, counsel for Plaintiff, certifies that on November 13, 2015, he met and conferred with Mr.
 David Lindner, counsel for Defendant, regarding this motion, and that Mr. Lindner agreed to the motion.

                                                 /s/ Jay Johnson
                                                 Jay Johnson

                                     CERTIFICATE OF SERVICE

 The undersigned certifies that all counsel of record who have consented to electronic service are being
 served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on
 November 13, 2015.

                                                 /s/ Jay Johnson
                                                 Jay Johnson
